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                        Case No. 18-10188-AG
 _________________________________________________________________
         United States District Court for the Central District of California
                                Santa Ana Division
           ________________________________________________

                        STEVEN MARK ROSENBERG,
                                Plaintiff/Appellant
                                         v.
     DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE
           FOR ALLIANCE BANCORP, MORTGAGE BACKED
  CERTIFICATE SERIES 2007-OA1; OCWEN LOAN SERVICING, LLC, AND
       MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
                       Defendants/Respondents
              ____________________________________________
                  Appeal from the United States Bankruptcy Court
  for the Central District of California, San Fernando Valley, Adversary Case No.
                                1:17-ap-01096-VK
                       The Honorable Victoria S. Kaufman


                    RESPONDENTS’ APPENDIX
__________________________________________________________________


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